Case 2:04-cV-02139-.]P|\/|-de Document 75 Filed 07/18/05 Page 1 of 3 Page|D 116

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WESTERN DISTRICT oF TENNESSEE°S JUL 18 PH 31 ss

 

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GF T.`"_ .’vi.§MPH!S
CANDICE MILLER COOK JUDGMENT IN A CIVIL CASE
VS
DAVID E . CAYWOOD and
DARRELL D. BLANTON. CASE NO= 04-2139 Ml/V

 

’I‘he parties having dismissed all claims in this matter:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order Of
Dismissal With Prejudice and the Order of Dismissal as to Defendant
Caywood's Third Party Complaint filed July'_E:J 2005, this case is
DISMISSED without prejudice.

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JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

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Ue(/ ' Clerk Of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
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